9/17/2021             Case 1:21-cv-03166-JEBGmail - Communications
                                              Document       28 Leading
                                                                   FiledUp to TerminationPage 1 of 86
                                                                         12/02/22


    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Tue, Feb 23, 2021 at 10:21 AM
    Subject: Missed Classes
    To: Shalima Olorunoje <solorunoje@paulcharter.org>


    Good Morning Ms. Olorunoje,

    I missed Advisory, Block 4, and Block 5 this morning due to personal reasons. I am writing to inform you of that and also
    ask what procedures I may need to follow, if any.

    Sincerely,
    Mr. Hester


    ---------- Forwarded message ----------
    From: Jared Hester <jhester@paulcharter.org>
    To: jaredhester1@gmail.com
    Cc:
    Bcc:
    Date: Wed, 24 Feb 2021 15:03:32 -0500
    Subject: Fwd: Letter from Healthcare Provider


    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Wed, Feb 24, 2021 at 3:03 PM
    Subject: Letter from Healthcare Provider
    To: Pamela Merkerson <pmerkerson@paulcharter.org>


    Good Afternoon Ms. Merkerson,

    The letter from my healthcare provider about workplace accommodations is attached.

    I also have another question. Do you need a letter from him explaining my absence yesterday, which was due to a
    medical issue?

    Regards,
    Mr. Hester


    ---------- Forwarded message ----------
    From: Steven Robinson <steven.robinson@students.paulcharter.org>
    To: Jared Hester <jhester@paulcharter.org>
    Cc:
    Bcc:
    Date: Fri, 5 Feb 2021 21:02:58 -0500
    Subject: Late work/grades
    Dear Mr. Hester,
    Thank you for giving me a chance to do sum make-up work! I turned most if not all of it in


    ---------- Forwarded message ----------
    From: Pamela Merkerson <pmerkerson@paulcharter.org>
    To: Jared Hester <jrdhester@gmail.com>
    Cc:
    Bcc:
https://mail.google.com/mail/u/0?ik=d31eefb163&view=pt&search=all&permthid=thread-a%3Ar-7740053126165065982&simpl=msg-a%3Ar7579148…   8/16
9/17/2021               Case 1:21-cv-03166-JEBGmail - Communications
                                                Document       28 Leading
                                                                     FiledUp to TerminationPage 2 of 86
                                                                           12/02/22
    Date: Wed, 3 Mar 2021 14:04:51 -0500
    Subject: Re: Last paycheck
    Ok. I’ll let them know.

    Sent from my iPhone


            On Mar 3, 2021, at 1:56 PM, Jared Hester <jrdhester@gmail.com> wrote:



            Hello,

            I will be able to pick up the check at the school between 3:00 pm and 5:00 pm.

            Sincerely,
            Mr. Hester

            On Wed, Mar 3, 2021 at 11:20 AM Jared Hester <jrdhester@gmail.com> wrote:
             Good morning,

              I will let you know if I can come to the school at 3:00 pm today as soon as I can.

              Thanks,
              Jared Hester

              On Wed, Mar 3, 2021 at 9:40 AM Pamela Merkerson <pmerkerson@paulcharter.org> wrote:
               Good morning Mr. Hester,

                I received your message concerning your paycheck, my apologies, given the pandemic others have
                opted to keep with the direct deposit option for money distribution, but we will ensure that a paycheck
                is cut and available for you today in lieu of the March 5th direct deposit.
                Ms. Cunningham will be on campus between 3pm and 5pm today. If this time frame works for you,
                just let me know and I'll let the team know to expect you.

                PM

                --

                     Pamela Merkerson
                     Executive Director of Talent | Paul PCS
                     e: pmerkerson@paulcharter.org p: (202) 291 7499
                     a: 5800 Eighth Street NW, Washington DC 20011
                     w: www.paulcharter.org




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9/17/2021                Case 1:21-cv-03166-JEBGmail - Communications
                                                 Document       28 Leading
                                                                      FiledUp to TerminationPage 3 of 86
                                                                            12/02/22




    ---------- Forwarded message ----------
    From: Jared Hester <jhester@paulcharter.org>
    To: Tomiko Graves <tgraves@paulcharter.org>
    Cc:
    Bcc: jaredhester1@gmail.com
    Date: Fri, 19 Feb 2021 10:45:45 -0500
    Subject: Lesson Plan Extension
    Good Morning, Ms. Graves,

    I am writing to let you know that I will not get lesson plans thoroughly done by 3 today. What I will be able to provide is a
    skeleton or proposed ideas of what I plan to teach next week, but it will likely be lacking the details that you have
    requested of me.

    I am sorry about that but I look forward to getting you the plans as soon as possible.

    Thank you for your understanding,
    Mr. Hester


    ---------- Forwarded message ----------
    From: Jared Hester <jhester@paulcharter.org>
    To: Tomiko Graves <tgraves@paulcharter.org>
    Cc:
    Bcc: jaredhester1@gmail.com
    Date: Thu, 25 Feb 2021 17:31:54 -0500
    Subject: Re: Lesson Plans
    Those lesson plans are done.

    On Thu, Feb 25, 2021 at 5:28 PM Tomiko Graves <tgraves@paulcharter.org> wrote:
     Hi Mr. Hester,

      That's fine. Thanks for reaching out.

      On Thu, Feb 25, 2021 at 1:11 PM Jared Hester <jhester@paulcharter.org> wrote:
       Good Afternoon,

            I am writing to give you an update on my lesson plans for next week, 3-1 through 3-4.

            I have completed Spanish II lesson plans for 3-1 through 3-4 and 3-8 through 3-11.
            I am still working on Spanish II for Native Speakers and Spanish III lesson plans.

            I don't believe I will have the second set of lesson plans done by the deadline of 3pm today. I am therefore asking
            for an extension to 7pm tonight.

            Respectfully,
            Mr. Hester


      --
            T Graves
            HS Assistant Principal | Paul PCS
            e: tgraves@paulcharter.org p: (202) 291 7499
            a: 5800 Eighth Street NW, Washington DC 20011
            w: www.paulcharter.org



https://mail.google.com/mail/u/0?ik=d31eefb163&view=pt&search=all&permthid=thread-a%3Ar-7740053126165065982&simpl=msg-a%3Ar757914…   10/16
9/17/2021               Case 1:21-cv-03166-JEBGmail - Communications
                                                Document       28 Leading
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                                                                           12/02/22

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    ---------- Forwarded message ----------
    From: Human Resource <HR@paulcharter.org>
    To: Jared Hester <jrdhester@gmail.com>
    Cc:
    Bcc:
    Date: Mon, 1 Mar 2021 11:38:12 -0500
    Subject: Re: Paul PCS Offboarding
    We have received all of your items. Thank you.

    On Fri, Feb 26, 2021 at 5:07 PM Jared Hester <jrdhester@gmail.com> wrote:
     For sure. Have a great weekend!

      On Fri, Feb 26, 2021 at 4:53 PM Human Resource <HR@paulcharter.org> wrote:
       Yes, that is correct. Thanks for confirming!

            On Fri, Feb 26, 2021 at 3:52 PM Jared Hester <jrdhester@gmail.com> wrote:
             Hi Trina,

              Thank you very much. I have read through the off-boarding document. To confirm, the only items which I need to
              return to Paul are the Paul-issue laptop, charger, and the other electrical adapter that came with it, correct?

              Thank you and have a great weekend!
              Jared

              On Fri, Feb 26, 2021 at 3:12 PM Human Resource <HR@paulcharter.org> wrote:
               Hello Jared,

                Thank you for your time and work at Paul PCS. Attached is your offboarding paperwork. Let me know if you
                have any questions!

                Best wishes,

                Trina

                --
                Paul Public Charter School
                www.paulcharter.org
                https://www.instagram.com/paulpcstalent



            --
            Paul Public Charter School
            www.paulcharter.org
            https://www.instagram.com/paulpcstalent


https://mail.google.com/mail/u/0?ik=d31eefb163&view=pt&search=all&permthid=thread-a%3Ar-7740053126165065982&simpl=msg-a%3Ar757914…   12/16
9/17/2021             Case 1:21-cv-03166-JEBGmail - Communications
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    --
    Paul Public Charter School
    www.paulcharter.org
    https://www.instagram.com/paulpcstalent


    ...

    [Message clipped] View entire message


     39 attachments




                                                Screenshot 2021-02-17 at 9.25.46 AM.png
                                                21K




                                  Screenshot 2021-02-17 at 9.25.30 AM.png
                                  40K




                                                Screenshot 2021-02-17 at 9.24.58 AM.png
                                                149K




                       Screenshot 2021-02-24 at 3.25.37 PM.png
                       51K




                                Screenshot 2021-02-24 at 3.25.13 PM.png
                                125K




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9/17/2021             Case 1:21-cv-03166-JEBGmail - Communications
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                                                                   FiledUp to TerminationPage 6 of 86
                                                                         12/02/22




                                Screenshot 2021-02-24 at 3.24.42 PM.png
                                104K




                                Screenshot 2021-02-24 at 3.25.56 PM.png
                                75K




                                                Screenshot 2021-02-24 at 3.24.53 PM.png
                                                26K




                               Screenshot 2021-02-24 at 3.23.28 PM.png
                               51K




            Screenshot 2021-02-24 at 3.23.18 PM.png
            63K

                                            Screenshot 2021-02-24 at 3.22.46 PM.png
                                            39K




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9/17/2021             Case 1:21-cv-03166-JEBGmail - Communications
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                                Screenshot 2021-02-24 at 3.22.35 PM.png
                                72K




            Change of Address.eml
            2K

            Communication with Merkerson After Termination.eml
            2K

            Advisory, B4, and B5 Attendance.eml
            5K

            Formal Notice of Concern.eml
            319K

            J. Hester Response.pdf
            201K

            Follow up on grievance.eml
            288K

            Fwd: Follow up on grievance.eml
            12K

            Formal Reprimand_ J. Hester.docx
            66K

            Formal Reprimand.eml
            118K

            Fwd: Missed Classes.eml
            6K

            Jared Hester Letter of Accommodations.pdf
            26K

            Fwd: Letter from Healthcare Provider.eml
            42K

            Late work grades.eml
            8K

            Last paycheck.eml
            18K

            Lesson Plan Extension.eml
            6K
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9/17/2021              Case 1:21-cv-03166-JEBGmail - Communications
                                               Document       28 Leading
                                                                    FiledUp to TerminationPage 8 of 86
                                                                          12/02/22
            Lesson Plans.eml
            16K

            Letter to the Board of Trustees.eml
            12K

            Paul PCS Offboarding.eml
            10K

            Paul Public Charter School Inc Mail - Lesson Plan Extension.pdf
            51K

            Paul Public Charter School Inc Mail - Lesson Plan and Grade Extensions.pdf
            51K

            Fwd: Formal Reprimand.eml
            993K

            PIP - UPDATE.eml
            31K

            Re: No Doctor's Note Yet.eml
            48K

            PAST DUE - A3 Project Planning Template.eml
            493K

            Today's Absence without notification.eml
            20K

            Spanish II Lesson Plans.eml
            55K

            Spanish II Lesson... - @tgraves@paulcharter.org This isn't ....eml
            45K




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     Case 1:21-cv-03166-JEB Document 28 Filed 12/02/22 Page 9 of 86




February 24, 2021


To: Jared Hester, World Language Teacher
Fr: Shalima Olorunoje, HS Principal
Re: 1st Formal Reprimand_Lack of Adherence to Professional Expectations


All Paul PCS employees are expected to adhere to professional duties and
responsibilities outlined in our Academics Expectations Policy (AEP) Manual,
Student Support Manual, Operations Manual, and Employee Handbook.

The SY20-21 AEP Manual specifically states on pg. 21 in the “Instructional
Expectations” section and on pg. 28 in the Appendix section, it states that
“lesson plans are due by 3 pm on Thursday for the following week”.

For the weeks of 2/15/21 and 2/22/21 of SY20-21, your lesson plans have been
incomplete. This is not acceptable. Lesson plans are a requirement of all
teachers to ensure that thoughtful and strategic planning is occurring and to
provide school leaders context on strengths and opportunities for growth in
teacher practice.

In the future, it is expected that you:
    ● Submit lesson plans, using the approved Paul PCS Lesson Plan Template
        by the required deadline of 3 pm on Thursdays.
    ● Communicate any challenges impeding completion of lesson plans to me
        and/or your designated coach prior to the stated deadline.

Failure to adhere to the above-outlined expectations will result in further
disciplinary consequences, up to and including termination.

Please sign below to acknowledge receipt of this memorandum.

________________________________                                ________________
                                                        Date


___Shalima Olorunoje _________________________2/21/21
Shalima Olorunoje, Principal, PIHS               Date

Cc: Charlotte Spann, Executive Director of Schools
    Pamela Merkerson, Director of Talent
    Tracy Wright, Chief Executive Officer
                                           Page 28
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       From:      "Jared Hester" <jhester@paulcharter.org>
         To:      "Jared Hester" <jrdhester@gmail.com>
       Date:      2/24/2021 3:29:27 PM
     Subject:     Fwd: Formal Reprimand
Attachments:      Paul Public Charter School Inc Mail - Lesson Plan Extension.pdf
                  Paul Public Charter School Inc Mail - Lesson Plan and Grade Extensions.pdf




---------- Forwarded message ---------
From: Jared Hester <jhester@paulcharter.org >
Date: Wed, Feb 24, 2021 at 3:29 PM
Subject: Re: Formal Reprimand
To: Shalima Olorunoje <solorunoje@paulcharter.org >
Cc: Human Resource <hr@paulcharter.org >, Charlotte Spann <cspann@paulcharter.org >


Thank you, Ms. Olorunoje. I have received it and read it.

I am sending you screenshots of my completed lesson plans for the week of 2-15 (Monday 2-15 was off for
Presidents Day).
I am also sending you the emails I sent to Ms. Graves and Ms. Merkerson for this week requesting an extension
for the lesson plans of the week of 2-22 on Wednesday 2-17 before the Thursday deadline.

Regards,
Mr. Hester

On Wed, Feb 24, 2021 at 9:18 AM Shalima Olorunoje <solorunoje@paulcharter.org > wrote:
 Greetings,
 The formal reprimand is attached.

  On Wed, Feb 24, 2021 at 9:11 AM Jared Hester <jhester@paulcharter.org > wrote:
   Thank you. It was not attached.

    On Wed, Feb 24, 2021 at 9:09 AM Shalima Olorunoje <solorunoje@paulcharter.org > wrote:
     Greetings,

      Attached you will find your formal reprimand for failure to adhere to our organization's professional duties.

      Please read in its entirety and we will discuss it in detail during our meeting on Friday.

      Best,
      Mrs. Olorunoje

      --




                                                     4/ 10/ 2021
                                                  Page 28
                      Case 1:21-cv-03166-JEB Document  2  Filed 12/02/22 Page 11 of 86
           Shalima Olorunoje
           HS Principal | Paul PCS
           e: solorunoje@paulcharter.org     p: (202) 291 7499
           a: 5800 Eighth Street NW , Washington DC 20011
           w: www.paulcharter.org




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 --
      Shalima Olorunoje
      HS Principal | Paul PCS
      e: solorunoje@paulcharter.org    p: (202) 291 7499
      a: 5800 Eighth Street NW , Washington DC 20011
      w: www.paulcharter.org




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Week of 2-22




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                            4/ 10/ 2021
2/23/2021                            Paul Public Charter
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                                                                                 Plan and GradePage
                                                                                                Extensions
                                                                                                       19 of 86


                                                                                         Jared Hester <jhester@paulcharter.org>



  Lesson Plan and Grade Extensions
  1 message

  Jared Hester <jhester@paulcharter.org>                                               Wed, Feb 17, 2021 at 3:12 PM
  To: Pamela Merkerson <pmerkerson@paulcharter.org>, Tomiko Graves <tgraves@paulcharter.org>
  Bcc: jaredhester1@gmail.com

    Hello Ms. Merkerson and Ms. Graves,

    This week I am experiencing some recurrent health issues and so I may need an extension on my lesson plans. I am
    thinking that one day would be enough, but I also do not yet know if I will be needing the extension or not. I am just
    making sure I inform you in time.

    Thanks,
    Jared




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5/11/2021                                            Gmail
                        Case 1:21-cv-03166-JEB Document 28- Lesson
                                                              FiledPlans
                                                                      12/02/22 Page 20 of 86


                                                                                        Jared Hester <jaredhester1@gmail.com>



  Lesson Plans
  3 messages

  Jared Hester <jhester@paulcharter.org>                                                               Thu, Feb 25, 2021 at 1:11 PM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Bcc: jaredhester1@gmail.com

    Good Afternoon,

    I am writing to give you an update on my lesson plans for next week, 3-1 through 3-4.

    I have completed Spanish II lesson plans for 3-1 through 3-4 and 3-8 through 3-11.
    I am still working on Spanish II for Native Speakers and Spanish III lesson plans.

    I don't believe I will have the second set of lesson plans done by the deadline of 3pm today. I am therefore asking for an
    extension to 7pm tonight.

    Respectfully,
    Mr. Hester


  Tomiko Graves <tgraves@paulcharter.org>                                                              Thu, Feb 25, 2021 at 5:28 PM
  To: Jared Hester <jhester@paulcharter.org>

    Hi Mr. Hester,

    That's fine. Thanks for reaching out.
    [Quoted text hidden]
    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                               Thu, Feb 25, 2021 at 5:31 PM
  To: Tomiko Graves <tgraves@paulcharter.org>
https://mail.google.com/mail/u/2?ik=41eaa1703e&view=pt&search=all&permthid=thread-f%3A1692691797325503694&simpl=msg-f%3A16926917973…   1/2
5/11/2021                                           Gmail
                       Case 1:21-cv-03166-JEB Document 28- Lesson
                                                             FiledPlans
                                                                     12/02/22 Page 21 of 86
  Bcc: jaredhester1@gmail.com

    Those lesson plans are done.
    [Quoted text hidden]




https://mail.google.com/mail/u/2?ik=41eaa1703e&view=pt&search=all&permthid=thread-f%3A1692691797325503694&simpl=msg-f%3A16926917973…   2/2
5/14/2021                                      Gmail - Formal
                     Case 1:21-cv-03166-JEB Document     28 Notice
                                                              Filedof 12/02/22
                                                                      Concern  Page 22 of 86


                                                                                        Jared Hester <jaredhester1@gmail.com>



  Formal Notice of Concern
  5 messages

  Avise Hayes <ahayes@paulcharter.org>                                                 Wed, Feb 17, 2021 at 8:00 AM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
  <HR@paulcharter.org>




    Notice of Concern

    TO:          Jared Hester

    Date:         February 17, 2021

    FROM: Avise Hayes, Assistant Director of Academics

    CC:               Pamela Merkerson, HR Director; Charlotte Spann Executive Director of Schools

    SUBJECT:          Formal Notice of Concern

    This email serves as a formal notice of concern regarding your failure to meet professional duties.

    At Paul, we value all of our staff members and strive for professional growth that will facilitate
    success in all of our students. In order for all students to be able to be successful, we must ensure
    that we are upholding all of our professional tasks. Therefore, outlined below are the following
    professional duties that you have not met:


             Lesson Plans for the week of February 15, 2021 were submitted incomplete as of the
             established deadline of Thursday evenings at 3pm


    Effective immediately, ensure that you adhere to the duties, responsibilities and expectations
    regarding lesson plan submission. Failure to meet these expectations will result in further
    administrative action, up to and including suspension.




    --
         Assistant Director of Academics | Paul PCS
         e: ahayes@paulcharter.org
         a: 5800 Eighth Street NW, Washington DC 20011
https://mail.google.com/mail/u/2?ik=41eaa1703e&view=pt&search=all&permthid=thread-f%3A1691947509775415166&simpl=msg-f%3A16919475097…   1/8
5/14/2021                                        Gmail - Formal
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                                                                Filedof 12/02/22
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      w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                              Wed, Feb 17, 2021 at 8:55 AM
  To: jaredhester1@gmail.com



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Wed, Feb 17, 2021 at 8:55 AM
    Subject: Re: Formal Notice of Concern
    To: Avise Hayes <ahayes@paulcharter.org>
    Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
    <HR@paulcharter.org>


    Hi All,

    This is cause for great concern. Can someone on this list please explain to me why I am being written up formally,
    instead of being given a simple reminder by email? I am very shocked to see that this is your response to a single
    missing lesson plan, which included a note to Ms. Graves about why I had not completed it yet.

    I would appreciate your response or responses.

    Thanks,
    Mr. Hester
    [Quoted text hidden]



  Jared Hester <jhester@paulcharter.org>                                                              Wed, Feb 17, 2021 at 9:29 AM
  To: jaredhester1@gmail.com



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Wed, Feb 17, 2021 at 9:29 AM
    Subject: Re: Formal Notice of Concern
    To: Avise Hayes <ahayes@paulcharter.org>
    Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
    <HR@paulcharter.org>




https://mail.google.com/mail/u/2?ik=41eaa1703e&view=pt&search=all&permthid=thread-f%3A1691947509775415166&simpl=msg-f%3A16919475097…   2/8
5/14/2021                                       Gmail - Formal
                      Case 1:21-cv-03166-JEB Document     28 Notice
                                                               Filedof 12/02/22
                                                                       Concern  Page 24 of 86
    Just to provide some greater insight to everyone, here are screenshots of the lesson. As you will see, the format was
    blank, Ms. Graves asked what the objective was, and I told her I was waiting to see my students' progress on work they
    had done before writing it.

    On Wed, Feb 17, 2021 at 8:55 AM Jared Hester <jhester@paulcharter.org> wrote:
     Hi All,

      This is cause for great concern. Can someone on this list please explain to me why I am being written up formally,
      instead of being given a simple reminder by email? I am very shocked to see that this is your response to a single
      missing lesson plan, which included a note to Ms. Graves about why I had not completed it yet.

      I would appreciate your response or responses.

      Thanks,
      Mr. Hester

      On Wed, Feb 17, 2021 at 8:01 AM Avise Hayes <ahayes@paulcharter.org> wrote:
      [Quoted text hidden]


     3 attachments




                                               Screenshot 2021-02-17 at 9.25.46 AM.png
                                               21K




                                  Screenshot 2021-02-17 at 9.25.30 AM.png
                                  40K




                                               Screenshot 2021-02-17 at 9.24.58 AM.png
                                               149K




  Avise Hayes <ahayes@paulcharter.org>                                                 Wed, Feb 17, 2021 at 9:53 AM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
  <HR@paulcharter.org>, Tomiko Graves <tgraves@paulcharter.org>

    Good morning, Mr. Hester,
    The Formal Notice of Concern is a standard part of our Progressive Discipline Process for all staff members. For
    teachers who have received email reminders in Advisory 1 and/or Advisory 2, the next step starting in Advisory 3 is the
https://mail.google.com/mail/u/2?ik=41eaa1703e&view=pt&search=all&permthid=thread-f%3A1691947509775415166&simpl=msg-f%3A16919475097…   3/8
5/14/2021                                          Gmail - Formal
                         Case 1:21-cv-03166-JEB Document     28 Notice
                                                                  Filedof 12/02/22
                                                                          Concern  Page 25 of 86
    Formal Notice of Concern. Our records show that you have received several email reminders for missing and/or
    incomplete lesson plans. Here are the dates for which you have received email reminders for your lesson plans:

              November 16, 2020
              November 29, 2020
              December 4, 2020
              December 17, 2020
              January 6, 2021
              February 1, 2021

    Given that you have received these email reminders prior to this past week's lesson plan submission being incomplete,
    the next step in our process is a Formal Notice of Concern.

    If you have further questions regarding this process or your previous communications about this matter, Ms. Graves and
    our HR team would be able to address your questions.

    Thank you,
    Avise

    On Wed, Feb 17, 2021 at 9:29 AM Jared Hester <jhester@paulcharter.org> wrote:
     Just to provide some greater insight to everyone, here are screenshots of the lesson. As you will see, the format was
     blank, Ms. Graves asked what the objective was, and I told her I was waiting to see my students' progress on work
     they had done before writing it.

      On Wed, Feb 17, 2021 at 8:55 AM Jared Hester <jhester@paulcharter.org> wrote:
       Hi All,

            This is cause for great concern. Can someone on this list please explain to me why I am being written up formally,
            instead of being given a simple reminder by email? I am very shocked to see that this is your response to a single
            missing lesson plan, which included a note to Ms. Graves about why I had not completed it yet.

            I would appreciate your response or responses.

            Thanks,
            Mr. Hester

            On Wed, Feb 17, 2021 at 8:01 AM Avise Hayes <ahayes@paulcharter.org> wrote:
            [Quoted text hidden]
    [Quoted text hidden]



  Jared Hester <jhester@paulcharter.org>                                                             Wed, Feb 17, 2021 at 10:41 AM
  To: jaredhester1@gmail.com



    Forwarded Conversation
    Subject: Formal Notice of Concern
    ------------------------

    From: Avise Hayes <ahayes@paulcharter.org>
    Date: Wed, Feb 17, 2021 at 8:01 AM
    To: Jared Hester <jhester@paulcharter.org>
    Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
    <HR@paulcharter.org>




https://mail.google.com/mail/u/2?ik=41eaa1703e&view=pt&search=all&permthid=thread-f%3A1691947509775415166&simpl=msg-f%3A16919475097…   4/8
5/14/2021                                      Gmail - Formal
                     Case 1:21-cv-03166-JEB Document     28 Notice
                                                              Filedof 12/02/22
                                                                      Concern  Page 26 of 86
    Subject: Re: Formal Notice of Concern
    To: Avise Hayes <ahayes@paulcharter.org>
    Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
    <HR@paulcharter.org>




    ----------
    From: Avise Hayes <ahayes@paulcharter.org>
    Date: Wed, Feb 17, 2021 at 9:53 AM
    To: Jared Hester <jhester@paulcharter.org>
    Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
    <HR@paulcharter.org>, Tomiko Graves <tgraves@paulcharter.org>


    Good morning, Mr. Hester,
    The Formal Notice of Concern is a standard part of our Progressive Discipline Process for all staff members. For
    teachers who have received email reminders in Advisory 1 and/or Advisory 2, the next step starting in Advisory 3 is the
    Formal Notice of Concern. Our records show that you have received several email reminders for missing and/or
    incomplete lesson plans. Here are the dates for which you have received email reminders for your lesson plans:

            November 16, 2020
            November 29, 2020
            December 4, 2020
            December 17, 2020
            January 6, 2021
            February 1, 2021

    Given that you have received these email reminders prior to this past week's lesson plan submission being incomplete,
    the next step in our process is a Formal Notice of Concern.

    If you have further questions regarding this process or your previous communications about this matter, Ms. Graves and
    our HR team would be able to address your questions.

    Thank you,
    Avise


    ----------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Wed, Feb 17, 2021 at 10:40 AM
    To: Avise Hayes <ahayes@paulcharter.org>
    Cc: Charlotte Spann <cspann@paulcharter.org>, Pamela Merkerson <pmerkerson@paulcharter.org>, Human Resource
    <HR@paulcharter.org>, Tomiko Graves <tgraves@paulcharter.org>


    Hi, Ms. Hayes,

    I have not taken a thorough look through my own records, but I recall telling Ms. Graves on some of those accounts that
    the plans were in fact in. I know on one date, to give an example, the document simply was not in the right folder. I think
    in these instances clemency should be given since it was a simple technical issue. However, I understand that I should
    reach out to Ms. Graves and to Ms. Tran about this. Thanks for letting me know.

    Jared Hester




     3 attachments

                                               Screenshot 2021-02-17 at 9.25.46 AM.png

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5/14/2021                                      Gmail - Formal
                     Case 1:21-cv-03166-JEB Document     28 Notice
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                                                                      Concern  Page 27 of 86
                                               21K




                                  Screenshot 2021-02-17 at 9.25.30 AM.png
                                  40K




                                               Screenshot 2021-02-17 at 9.24.58 AM.png
                                               149K




https://mail.google.com/mail/u/2?ik=41eaa1703e&view=pt&search=all&permthid=thread-f%3A1691947509775415166&simpl=msg-f%3A16919475097…   8/8
3/15/2021                                        Gmail 28
                     Case 1:21-cv-03166-JEB Document   - Fwd: Filed
                                                              3d Feedback
                                                                     12/02/22 Page 28 of 86


                                                                                            Jared Hester <jrdhester@gmail.com>



  Fwd: 3d Feedback
  1 message

  Jared Hester <jhester@paulcharter.org>                                                                  Fri, Feb 5, 2021 at 9:31 AM
  To: Jared Hester <jrdhester@gmail.com>



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Fri, Feb 5, 2021 at 9:30 AM
    Subject: 3d Feedback
    To: Tomiko Graves <tgraves@paulcharter.org>
    Cc: Shalima Olorunoje <solorunoje@paulcharter.org>


    Good Morning Ms. Graves,

    I am writing with some information for my evaluation of 3d in Teachboost. It reads:

    "While checkpoints were planned, only four out of 11 students shared their progress in the chat. This precludes you from
    being able to gauge where all students are. Additionally, live worksheet does not allow you to monitor real-time so you are
    unable to monitor student understanding."

    Students typically post their check-ins to me privately so in the future I will email them to you. They also work on Google
    Docs, taking material from Live Worksheets, so I monitor them as they work and provide feedback in the comments on
    their documents. I can send you that info now if you remind me what class you were in on. I save some chats after
    classes, so I may have the check-in info too.

    Will there be any way this evaluation can reflect these?

    Thanks,
    Mr. Hester




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3/25/2021                                          Gmail - Fwd:
                        Case 1:21-cv-03166-JEB Document     28 Formal
                                                                 FiledObs Notes
                                                                        12/02/22 Page 29 of 86


                                                                                            Jared Hester <jrdhester@gmail.com>



  Fwd: Formal Obs Notes
  1 message

  Jared Hester <jhester@paulcharter.org>                                                               Fri, Jan 22, 2021 at 12:22 PM
  To: Jared Hester <jrdhester@gmail.com>



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Thu, Jan 21, 2021 at 12:06 PM
    Subject: Formal Obs Notes
    To: Jared Hester <jhester@paulcharter.org>


    1a Grows:

            1. Limited pedagogical approach (make considerations on the higher level knowledge stuff).
            2. Misalignment of objective and task (
            3. What instructional moves have to happen for students to be able to master objective and do tasks algin to that?

    1e Grows:

            1. Did not have differentiation for challenge (native speakers).
            2. Students who needed support may not have got it (missing nouns in sentence).
            3. Speak Spanish more with students (say in both).

    2b Grows (Effective):

            1. Post the expectations on the slides so that it's visual.

    2c (Effective, no grows!!!)

    3a Grows:

            1. Add the rows into the document beforehand.
            2. Building fluency by speaking in Spanish.

    3b Grows:

            1. Ask questions to promote student-to-student communication (one way is to say "X put blank, Y put blank, who's
               correct, come off of mute and tell me how you know, okay, now let me hear from another student - pushing the
               kids to respond to other students).

    3c Grows:

            1. Students need to hear Spanish spoken to give immersive experience.
            2. Add slides to support learning needs.
            3. Create instructional groups to support varying levels in class.

    3d Grows:

            1. Pull students into rooms who need help based on data (chat responses, monitoring work).




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12/31/2020                           Paul Public Charter Document
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                                                                                                 PageWeek30
                                                                                                          of 12.7.20
                                                                                                              of 86


                                                                                          Jared Hester <jhester@paulcharter.org>



  PAST DUE - Gradebook Update Week of 12.7.20
  5 messages

  Tomiko Graves <tgraves@paulcharter.org>                                                             Wed, Dec 16, 2020 at 9:22 AM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>

    Good morning Mr. Hester,

    As of 12.16.20, your grades have not updated in PowerSchool for the week of December 7, 2020. You only have grades
    for your Spanish III class.

    Given MAP testing, we decreased the number of assignments required, to one classwork for that week.

    Please update your gradebook by COB today.

    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                              Wed, Dec 16, 2020 at 9:29 AM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Thank you. I will update them.
    [Quoted text hidden]



  Jared Hester <jhester@paulcharter.org>                                                             Wed, Dec 16, 2020 at 10:22 AM
  To: Jared Hester <jhester@paulcharter.org>

    NS was also up to date at the time I received this email.
    [Quoted text hidden]




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12/31/2020                          Paul Public Charter Document
                       Case 1:21-cv-03166-JEB           School Inc Mail 28
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                                                                               DUE - Gradebook
                                                                                     12/02/22Update
                                                                                                PageWeek31
                                                                                                         of 12.7.20
                                                                                                             of 86
  Jared Hester <jhester@paulcharter.org>                                                             Wed, Dec 16, 2020 at 11:40 AM
  To: Jared Hester <jhester@paulcharter.org>

    B7 was also up to date at the time I received this email.



    [Quoted text hidden]



  Jared Hester <jhester@paulcharter.org>                                                             Wed, Dec 16, 2020 at 12:06 PM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Good Afternoon,

    B4 and 5 are now up to date. B1, 2, and 7 were already up to date for the week of 12.7.

    Thanks,
    Mr. Hester

    On Wed, Dec 16, 2020 at 9:22 AM Tomiko Graves <tgraves@paulcharter.org> wrote:
    [Quoted text hidden]




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Case 1:21-cv-03166-JEB Document 28 Filed 12/02/22 Page 32 of 86
Case 1:21-cv-03166-JEB Document 28 Filed 12/02/22 Page 33 of 86
Case 1:21-cv-03166-JEB Document 28 Filed 12/02/22 Page 34 of 86
3/15/2021                                           Gmail
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                                                             FiledNotes
                                                                    12/02/22 Page 35 of 86


                                                                                            Jared Hester <jrdhester@gmail.com>



  Graves Notes
  2 messages

  Jared Hester <jhester@paulcharter.org>                                                               Thu, Feb 4, 2021 at 11:57 AM
  To: Jared Hester <jrdhester@gmail.com>

    Next Steps:

             Script the "we do" portion.
             Create slides for every class.
             Create instructional groupings.

    ------------

             Meeting the deadlines and requirements of the PIP.

    ------------
    1e - Align tasks and assessments to an objective.
    3c - Make slides.
    3c - Ask Stephens about Avancemos.
    3e - Timely due date of expected materials.

    Model for students.
    Slide norms: Use all information from template. Expectations, Objective, Do Now, Teacher-Led Portion (I do, we do),
    Student Work Portion (we do, you do), Exit Ticket, Reminders.

    Teacher Preference on what goes on the slide (can write "I do:" and "we do:" or not).

    Even in a review lesson, script questions and do a we do.


  Jared Hester <jrdhester@gmail.com>                                                                    Thu, Feb 4, 2021 at 5:49 PM
  To: jhester@paulcharter.org

    [Quoted text hidden]




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3/15/2021                                    GmailDocument
                        Case 1:21-cv-03166-JEB     - Fwd: PAST DUE
                                                                28- A3Filed
                                                                       Project12/02/22
                                                                               Planning Template
                                                                                            Page 36 of 86


                                                                                            Jared Hester <jrdhester@gmail.com>



  Fwd: PAST DUE - A3 Project Planning Template
  3 messages

  Jared Hester <jhester@paulcharter.org>                                                                Tue, Feb 2, 2021 at 4:23 PM
  To: Jared Hester <jrdhester@gmail.com>



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Tue, Feb 2, 2021 at 4:22 PM
    Subject: Re: PAST DUE - A3 Project Planning Template
    To: Tomiko Graves <tgraves@paulcharter.org>
    Cc: Shalima Olorunoje <solorunoje@paulcharter.org>


    Hello All,

    Was completed yesterday with Biaou and Stephens in collab meeting. Is now dropped into folder with other projects.
    Sorry about that!

    Take care,
    Jared

    On Tue, Feb 2, 2021 at 4:04 PM Tomiko Graves <tgraves@paulcharter.org> wrote:
     Good afternoon Mr. Hester,

      The first phase of the A3 project planning template was due yesterday at 4pm. As of Tuesday, 4:03pm, it is not
      completed in your lesson plan folder.

      Please complete no later than tomorrow, Wednesday, by 3pm.

      --
            T Graves
            HS Assistant Principal | Paul PCS
            e: tgraves@paulcharter.org p: (202) 291 7499
            a: 5800 Eighth Street NW, Washington DC 20011
            w: www.paulcharter.org




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3/15/2021                                  GmailDocument
                      Case 1:21-cv-03166-JEB     - Fwd: PAST DUE
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                                                                     Project12/02/22
                                                                             Planning Template
                                                                                          Page 37 of 86


  Jared Hester <jhester@paulcharter.org>                                                                Thu, Feb 4, 2021 at 8:00 AM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>
  Bcc: jrdhester@gmail.com

    Good morning,

    Those plans should now be accessible, sorry.
    The template is currently in the A3 Project Launch Folder with the title "Hester - Project Planning Process TEMPLATE",
    last modified February 2nd.




    On Wed, Feb 3, 2021 at 6:49 PM Tomiko Graves <tgraves@paulcharter.org> wrote:
     This was in my draft still!!

      Good morning,

      The project template is still not in the folder.

      Additionally, the Native II plans are locked. I am unable to access them.
      [Quoted text hidden]



  Jared Hester <jhester@paulcharter.org>                                                                Thu, Feb 4, 2021 at 8:50 AM
  To: Jared Hester <jrdhester@gmail.com>



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Thu, Feb 4, 2021 at 8:48 AM
    Subject: Re: PAST DUE - A3 Project Planning Template
    To: Tomiko Graves <tgraves@paulcharter.org>
    Cc: Shalima Olorunoje <solorunoje@paulcharter.org>


    Great, it is now there.

    On Thu, Feb 4, 2021 at 8:16 AM Tomiko Graves <tgraves@paulcharter.org> wrote:
     Good morning,

      The template is supposed to be in your lesson plan folder.
      [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=d31eefb163&view=pt&search=all&permthid=thread-f%3A1690620160744403453&simpl=msg-f%3A16906201607…   2/2
12/31/2020                                      Paul Public Charter
                        Case 1:21-cv-03166-JEB Document      28 School
                                                                    FiledInc12/02/22
                                                                             Mail - Plans Page 38 of 86




                                                                                          Jared Hester <jhester@paulcharter.org>



  Plans
  5 messages

  Jared Hester <jhester@paulcharter.org>                                                   Mon, Dec 14, 2020 at 2:20 PM
  To: Tomiko Graves <tgraves@paulcharter.org>, Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran
  <ttran@paulcharter.org>

    Hello All,

    I know on Friday you all set the expectation of my lesson plans being due tomorrow by 9. I am still looking for the
    material that would best suit the Spanish II class and having a hard time finding what would be good. I would like to ask
    for an extension on the Spanish II lesson plans, perhaps until Thursday morning.

    Sincerely,
    Mr. Hester


  Shalima Olorunoje <solorunoje@paulcharter.org>                                                       Mon, Dec 14, 2020 at 7:02 PM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Tomiko Graves <tgraves@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Greetings,
    Thank you for your email and for following the set norms that we established in our meeting last week. I won't be able to
    grant an extension to Thursday. Please have the plans complete by 8 am Wednesday, Dec. 16th

    Thank you in advance.
    [Quoted text hidden]
    --
         Shalima Olorunoje
         HS Principal | Paul PCS
         e: solorunoje@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                               Tue, Dec 15, 2020 at 8:44 AM
  To: Shalima Olorunoje <solorunoje@paulcharter.org>
  Cc: Tomiko Graves <tgraves@paulcharter.org>, Trina Tran <ttran@paulcharter.org>
https://mail.google.com/mail/u/5?ik=fe2a373b3e&view=pt&search=all&permthid=thread-a%3Ar-3482343034843765795&simpl=msg-a%3Ar-75711476…   1/2
12/31/2020                                      Paul Public Charter
                        Case 1:21-cv-03166-JEB Document      28 School
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    Okay. Received. Thank you.
    [Quoted text hidden]



  Tomiko Graves <tgraves@paulcharter.org>                                                              Thu, Dec 17, 2020 at 9:29 AM
  To: Shalima Olorunoje <solorunoje@paulcharter.org>
  Cc: Jared Hester <jhester@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Good morning Mr. Hester,

    I'm reaching out because there aren't any lesson plans for Spanish II or Spanish III in the folder as of 9:28 this morning.

    Please share your plans as soon as possible.

    On Mon, Dec 14, 2020 at 7:02 PM Shalima Olorunoje <solorunoje@paulcharter.org> wrote:
    [Quoted text hidden]



    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                              Thu, Dec 17, 2020 at 10:20 AM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Hello,

    I am still in the midst of those.

    Thank you,
    Mr. Hester
    [Quoted text hidden]




https://mail.google.com/mail/u/5?ik=fe2a373b3e&view=pt&search=all&permthid=thread-a%3Ar-3482343034843765795&simpl=msg-a%3Ar-75711476…   2/2
3/25/2021               Case 1:21-cv-03166-JEB Gmail - Fwd: Spanish
                                               Document       28 IIFiled
                                                                    Lesson 12/02/22
                                                                           Plan Extension Page 40 of 86




                                                                                            Jared Hester <jrdhester@gmail.com>



  Fwd: Spanish II Lesson Plan Extension
  1 message

  Jared Hester <jhester@paulcharter.org>                                                                Fri, Jan 22, 2021 at 8:29 AM
  To: Jared Hester <jrdhester@gmail.com>



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Fri, Jan 22, 2021 at 8:12 AM
    Subject: Re: Spanish II Lesson Plan Extension
    To: Tomiko Graves <tgraves@paulcharter.org>
    Cc: Shalima Olorunoje <solorunoje@paulcharter.org>


    Thank you.

    On Thu, Jan 21, 2021 at 6:06 PM Tomiko Graves <tgraves@paulcharter.org> wrote:
     You can have until tomorrow. Shoot for 12:30pm because we have a PD tomorrow all afternoon so there won't be time
     to do plans after 12:30pm.

      On Thu, Jan 21, 2021 at 4:42 PM Jared Hester <jhester@paulcharter.org> wrote:
       I am wondering if I can have until tomorrow to do them, especially with the Inauguration taking up my planning
       session with Stephens and today's coaching being about my evaluation. I could probably give a less detailed
       version by 10pm.


      --
            T Graves
            HS Assistant Principal | Paul PCS
            e: tgraves@paulcharter.org p: (202) 291 7499
            a: 5800 Eighth Street NW, Washington DC 20011
            w: www.paulcharter.org




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12/31/2020                               Paul Public Charter
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                                                                      28Mail Filed
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                                                                                      Plan Submission - 11.29.20
                                                                                                   Page     41 of 86


                                                                                          Jared Hester <jhester@paulcharter.org>



  Lesson Plan Submission - 11.29.20
  2 messages

  Tomiko Graves <tgraves@paulcharter.org>                                                             Sun, Nov 29, 2020 at 10:32 AM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>

    Good morning Mr. Hester,

    I hope you enjoyed your break.

    As of 10:29am on Sunday, Nov. 30, no lesson plans have been submitted for either class. Please submit plans for both
    classes by 8am tomorrow, Monday, morning. You have completed lesson plans on time only one week out of five.

    This is a reminder that your Spanish II lessons are due Thursdays by 3pm and your Spanish III lessons are due
    Sundays by noon. The Spanish III lesson deadline was moved up because feedback is needed on all lesson plans
    prior to implementation.

    If you have any questions or concerns, please reach out to me.

    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                               Mon, Nov 30, 2020 at 7:29 AM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Good Morning!

    I submitted the Spanish II lesson plans before the break. The Spanish III lesson plans are also done.

    Thanks!
    Mr. Hester

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                                                                        - Project Plan 12/02/22
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                                                                                                                 of 86


                                                                                           Jared Hester <jhester@paulcharter.org>



  Project Plan and Other Lesson Planning Topics
  3 messages

  Jared Hester <jhester@paulcharter.org>                                                                 Thu, Dec 17, 2020 at 3:34 PM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Hi, Ms. Graves,

    I wanted to send you screenshots of some project plans I made just so you can see that I have been working on
    lessons. In addition to that, I want to add weekly grammar lessons with matching homework and an assessment that will
    support them on this acquisition-based project.

    I wanted to say about that, I have studied Russian, German, Spanish, French, Arabic, and Hebrew abroad and in the US,
    and at many famous institutes like the National Autonomous University of Mexico and Middlebury College. All in all, the
    language learning experts agree that acquisition-based learning is the way to becoming proficient in a particular
    language. This is the method that the State Department uses for example.

    As for the textbook, I have been working on reading it since Sunday. The materials look really good and there are a lot of
    great acquisition-based materials. I am just generally unfamiliar with these materials so it will take me some time to
    figure out how to implement them. I am more familiar with the materials I am using in my projects which is why I am
    using them (I can come up with lessons faster). All in all, I am doing my best at the moment, also considering I am a
    little bit limited in some ways.

    I wanted to share the introduction from the book with you, and Ms. Olorunoje and Ms. Tran if they want to:
    https://players.brightcove.net/906043067001/H1MR0nxf_default/index.html?videoId=ref:Avancemos_Final_market. "We
    don't learn language, we acquire language" is really a foundational statement from the video.

    I know you have concerns about students accessing learning material that is in Spanish (although experts agree that this
    is the best way to familiarize learners of all levels) and that this could tie into student success in terms of their grades,
    but I wanted to provide some data from my gradebook that might dispel your concerns. (This data does not contain the
    two most recent assignments from this week.) I have 68 students total, 25 are passing with at least a C, 23 are failing
    due to absence, and the remaining 20 are failing due to missing work (but not improficient work - most of their work is
    spot on when turned in). I think the two biggest data points that may be making it look like the use of authentic material
    may be causing them to fail are the 23 chronically absent students and the 20 students who are missing assignments.

    I would love to receive your feedback. (I know it is break, so please don't let me pull you away from free time but I also
    know that this is important.)

    Sincerely,
    Jared


     4 attachments




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                                                 Screenshot 2020-12-17 at 2.34.09 PM.png
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                                                Screenshot 2020-12-17 at 2.34.20 PM.png
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  Tomiko Graves <tgraves@paulcharter.org>                                                               Thu, Dec 17, 2020 at 4:44 PM
  To: Jared Hester <jhester@paulcharter.org>

    Good afternoon Mr. Hester,

    Thanks for sharing your thoughts.

    I am a little familiar with the theory of acquisition learning. My children have been fortunate to attend Spanish immersion
    schools since Kindergarten, where the language acquisition included a learning of the culture through the perspectives of
    the teacher experiences as they came from a number of different Spanish-speaking countries. Additionally, naturally, the
    earlier you learn a language, in a non-formal way, can provide a deeper experience with language learning and
    proficiency. They have also been afforded the opportunity to be in immersive environments in Panama.

    I'm glad that you recognize that the Avancemos curriculum focuses on students "acquiring" the language and not just
    "learning" it. Although, there's a space for both.

    After considering the shifts you will be making with students as it relates to working primarily from Avancemos, I was
    going to discuss with you today about administering a pre-assessment with them on Tuesday and Wednesday, January
    4 & 5.

    I feel this will be helpful for a number of reasons:
    1) The diagnostic you gave at the beginning of the year included students completing it together in class, which negates
    their scores and limits your ability to use it. (We discussed this already).
    2) Since students have already begun some Spanish instruction and are coming with a wide range of language-speaking,
    it would be difficult to determine where to begin in the Avancemos curriculum; a concern you shared.
    3) The assessment would come from Avancemos, which means that, depending on the sections of the assessment
    used within Avancemos, it provides you the corresponding unit aligned with that section of the assessment. This would
    be extremely helpful, if, for example you noticed 75% of students did not do well on section 2. Well, section 2 is aligned
    to chapter __. That allows you to go into that section and think about creating a lesson from there.

    The assessments are located on the "Teacher resources" tab, under "Differentiated Assessments."

    The assessment is written as a pdf so here are some challenges (and some potential action steps) with the assessment:

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    1) Students have access to the digital textbook, but if they haven't used it, you would have to take time to give them
    logins and show them how to access it. *This is definitely something I'm sure you would want to do anyway, as that is
    how they can have the whole experience in acquiring the language.
    OR
    2) You could recreate/rewrite the assessment (or portions of it) into a Google Form. The advantages of this would be
    that you get all data instantly, already aggregated for you and you can easily see trends. Another advantage is that you
    could potentially add additional options to student choices to reflect other realistic choices.

    I would like to schedule a time for us to meet tomorrow to come up with some concrete plans prior to break.

    The only preparation needed is for you to have access to Avancemos, which you already do.

    Let me know!
    [Quoted text hidden]
    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                                   Fri, Dec 18, 2020 at 10:37 AM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Good Morning!

    Sorry I did not respond earlier. I am a little unwell today and will read it in full soon.

    Thanks,
    Jared
    [Quoted text hidden]




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                                                                             - Re: Lesson Plans - Week
                                                                                    12/02/22       Pageof 1/646 of 86




                                                                                            Jared Hester <jhester@paulcharter.org>



  Re: Lesson Plans - Week of 1/6
  4 messages

  Tomiko Graves <tgraves@paulcharter.org>                                                      Wed, Jan 6, 2021 at 4:55 PM
  To: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>, Jared Hester
  <jhester@paulcharter.org>


         Good morning Mr. Hester,

         I read your email with your plan for students. However, I still don't see any lesson plans in the folder for Spanish 2 or
         Spanish 3.

         Please advise.

         --
              T Graves
              HS Assistant Principal | Paul PCS
              e: tgraves@paulcharter.org p: (202) 291 7499
              a: 5800 Eighth Street NW, Washington DC 20011
              w: www.paulcharter.org




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         a: 5800 Eighth Street NW, Washington DC 20011
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  Jared Hester <jhester@paulcharter.org>                                                                Thu, Jan 7, 2021 at 8:10 AM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Sure! The Level 2 was done yesterday at 12:30. The Level 3 is not done but it is due on Sunday. The screenshot here
    shows last edits at 2:40 pm yesterday when I went back in to add a couple of more questions.
    [Quoted text hidden]




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  Tomiko Graves <tgraves@paulcharter.org>                                                               Thu, Jan 7, 2021 at 8:44 AM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Good morning,

    I was referring to this week's lessons. Those are not in the folder. We'll discuss further during our coaching meeting
    today as well as next week's plans.
    [Quoted text hidden]



  Jared Hester <jhester@paulcharter.org>                                                                Thu, Jan 7, 2021 at 8:49 AM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    I see. I decided to give students this week to finish up their projects and complete missing work. One third of my
    students were failing due to missing assignments but were consistently participating in class. I figured they needed a
    little extra time and opportunity to catch up, especially with the change in teacher. Next week I will be giving them new
    materials, including materials from the Avancemos textbook.
    [Quoted text hidden]




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                                                                                            Jared Hester <jhester@paulcharter.org>



  Re: Lesson Plans - Week of 1/6
  4 messages

  Tomiko Graves <tgraves@paulcharter.org>                                                      Wed, Jan 6, 2021 at 4:55 PM
  To: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>, Jared Hester
  <jhester@paulcharter.org>


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         --
              T Graves
              HS Assistant Principal | Paul PCS
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  Jared Hester <jhester@paulcharter.org>                                                                Thu, Jan 7, 2021 at 8:10 AM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Sure! The Level 2 was done yesterday at 12:30. The Level 3 is not done but it is due on Sunday. The screenshot here
    shows last edits at 2:40 pm yesterday when I went back in to add a couple of more questions.
    [Quoted text hidden]




                                                Screenshot 2021-01-07 at 8.08.47 AM.png
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  Tomiko Graves <tgraves@paulcharter.org>                                                               Thu, Jan 7, 2021 at 8:44 AM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Good morning,

    I was referring to this week's lessons. Those are not in the folder. We'll discuss further during our coaching meeting
    today as well as next week's plans.
    [Quoted text hidden]



  Jared Hester <jhester@paulcharter.org>                                                                Thu, Jan 7, 2021 at 8:49 AM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    I see. I decided to give students this week to finish up their projects and complete missing work. One third of my
    students were failing due to missing assignments but were consistently participating in class. I figured they needed a
    little extra time and opportunity to catch up, especially with the change in teacher. Next week I will be giving them new
    materials, including materials from the Avancemos textbook.
    [Quoted text hidden]




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                                                                                          Jared Hester <jhester@paulcharter.org>



  Avancemos Curriculum and Lesson Planning
  4 messages

  Tomiko Graves <tgraves@paulcharter.org>                                                             Wed, Dec 9, 2020 at 12:16 PM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Good morning Mr. Hester,

    I wanted to reach out to restate what we discussed during our coaching meeting three weeks ago as it related to the
    Avancemos digital curriculum.

    While we appreciate your desire to create lessons from a variety of sources, our Spanish program is required to use the
    Avancemos curriculum as the foundation for lesson plans. Avancemos helps with having a clear path and sequencing of
    lessons. You may pull from various resources in an effort to provide differentiation for students; however, the core of the
    lesson has to come from Avancemos.

    For example, during the independent practice time provided in the Avancemos digital textbook, you may feel (based on
    data) that some students can handle less or more than what is being requested. In that case, you can use your
    expertise to offer an alternative/differentiated activity to either further support or challenge a specific group(s) in your
    class, for that specific portion of the lesson.

    I hope this solidifies our conversation and provides a more clear guidance on lesson planning moving forward.

    Please come prepared to tomorrow's coaching session with your lesson ideas for next week from Avancemos for both
    your Spanish II and Spanish III classes.

      *I'm looping in Ms. Tran as I know she also supports you in various areas including lesson planning.
    --
       T Graves
      HS Assistant Principal | Paul PCS
      e: tgraves@paulcharter.org p: (202) 291 7499
      a: 5800 Eighth Street NW, Washington DC 20011
      w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                               Wed, Dec 9, 2020 at 2:44 PM

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                                                                                                              of 86
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Hi, Ms. Graves and All,

    This email was a little shocking. I just want to clarify that Ms. Graves never told me that Avancemos is a requirement.
    Could we talk as a four about what is going on because I feel really bullied and I feel like a lot is happening about me
    behind my back. I would like to be able to have transparency with my superiors.

    As for tomorrow's meeting plan, my students are in the middle of a project and they are doing a very successful job on it.
    I would not want to interrupt them now. Lesson planning also takes time and forethought. I would not be able to have two
    lessons ready on a brand new subject from an unfamiliar text by tomorrow. I feel like this is a purposeful set up for
    disaster. Is there something going on?

    Ms. Graves has been silent as well on the Native Speakers II class. I haven't gotten any feedback or observations on it.

    Thank you,
    Mr. Hester


  Shalima Olorunoje <solorunoje@paulcharter.org>                                                       Wed, Dec 9, 2020 at 7:41 PM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Tomiko Graves <tgraves@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Greetings,
    Thank you for your email Mr. Hester and for expressing your concerns. I have sent an invite to all parties for this Friday
    to further discuss your concerns, Mrs. Graves continued support, and review Paul's curriculum expectations.

    To that end, since the meeting will take place on Friday, will we give you an extension for your lesson plan submission.
    Mrs. Graves and I will further review the details during our meeting this Friday.

    Best,
    Mrs. Olorunoje
    [Quoted text hidden]
    --
         Shalima Olorunoje
         HS Principal | Paul PCS
         e: solorunoje@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                              Thu, Dec 10, 2020 at 11:59 AM

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  To: Shalima Olorunoje <solorunoje@paulcharter.org>
  Cc: Tomiko Graves <tgraves@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Thank you. I have accepted the meeting.
    [Quoted text hidden]




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                                                             Filed    Trina   Page 53 of 86


                                                                                            Jared Hester <jrdhester@gmail.com>



  Fwd: Notes with Trina
  1 message

  Jared Hester <jhester@paulcharter.org>                                                               Fri, Jan 22, 2021 at 11:41 AM
  To: Jared Hester <jrdhester@gmail.com>



    ---------- Forwarded message ---------
    From: Jared Hester <jhester@paulcharter.org>
    Date: Fri, Nov 13, 2020 at 8:04 AM
    Subject: Notes with Trina
    To: Jared Hester <jhester@paulcharter.org>


    - Make habit to think through directions (3-4 sentences can be 10 words). Challenge yourself to pre-plan instructions to
    make it shorter/ more concise.
    - Use list language: first, I need you to do this. Then repeat: tell me what I need you to do first.
    - Do a lot of repetitions. (They learn I speak fast but that I will repeat it).
    - More likely to pay attention if mix speaking fast and slow (not all fast, not all slow). Say "this is important, let me slow
    it down for you."

    Grow:
    - Work on relationship with you and students, you and the class. Without awkward tension and lagging of time. Be more
    neutral about it. Save that for personal time with me and student. Balance two respon: crowd control (you with the class,
    everyone is learning, moving together) and the personal relationship/the nurturing side (after class, personal topics). In
    classroom, spend no more than 30 seconds on those one-person issues. End it by saying, I'm going to talk to you later
    or meet me in office hours.

    What you want more of in your class, give it more time and attention (i.e. positives). Call out the three students who are
    participating (i.e. "Trina typed the answer, Jared typed it, Shalima typed it). First call out all positives. Count as three
    reminders. Then say "X" I need you to put your answer in the chat. You are in more control of the vibe of the class. In a
    "tennis game", I lose my power. They learn more about me than about my subject, so show them what I am about. The
    less participating class needs A WHOLE LOT more of that.

    Set the culture in my class where any student can get called on. Always use equity calls/sticks.




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                                                                                                  Pageon TeachBoost
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                                                                                             Jared Hester <jrdhester@gmail.com>



  Fwd: New Long Observation - Jared Hester by Tomiko Graves on TeachBoost
  1 message

  Jared Hester <jhester@paulcharter.org>                                                               Wed, Jan 27, 2021 at 9:35 AM
  To: Jared Hester <jrdhester@gmail.com>



    ---------- Forwarded message ---------
    From: TeachBoost <no-reply@teachboost.com>
    Date: Thu, Jan 21, 2021 at 12:13 PM
    Subject: New Long Observation - Jared Hester by Tomiko Graves on TeachBoost
    To: <jhester@paulcharter.org>
    Cc: <tgraves@paulcharter.org>


            From:      tgraves@paulcharter.org
            Date:      Thursday, Jan 14th, 2021
            Subject:   New Long Observation - Jared Hester by Tomiko Graves on TeachBoost



     Tomiko Graves has just completed a new Long and Short Formal Observation - Sketch on TeachBoost. The form
     results are listed below, or you can view them on TeachBoost.


     Evidence


     T models how to add a row                                                   Rating:                   Time:
                                                                                 Developing
     T: Some ppl are confused about the document...so let me show
     you...just cuz the box is filled you're not actually done. so it's gonna
     be quite a few so just hit the tab key on the keyboard...and it opens
     up a new word for you

     T: Good I have 4 already...wonderful...Alright just got 5...6...7
     wonderful...

     T: Alrighty guys. second check in...go ahead...i do want to remind
     you that you have to add the columns...so go ahead and pop in your
     next check in right now

     T: Ok so while you're working I'll be watching your google doc

     T: The first one will be at 9:00...

     T: Ok guys I'm gonna let you go...I'm gonna give you 10 mins and a
     check in and then another 10 mins and a check in and then we'll do
     our reflections


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     Objective: Students will communicate with each other using present
     tense conjugated verbs to describe the actions depicted in a story
     called Pobre Ana.

    (Contains attachments, see below)

    Framework:

     1e: Designing Coherent Instruction

    Feedback:

     Mr. Hester designed a lesson for students to identify the subject and verbs in sentences within a larger text. He
     designed the lesson to model for them, allow them to practice with guidance and then complete the rest independently.
     There was no differentiation planned for students who were ready for a challenge. There were also no supports put in
     place for students who need additional help. While a google doc was created to allow for monitoring of student work
     and for students to record their answers, the table had not been fully completed which caused some challenges for
     students. The objective of the lesson was not aligned to the activity. Students did not speak with one another and did
     conjugate verbs.

     Mr. Hester is developing in designing coherent instruction.

    Next Steps:

     Next Steps: 1) Create an objective that includes what students will do, how they will do it and why 2) Choose tasks
     that align with that objective



     T: So many of you are not writing a reflection. Keep in mind the            Rating:                   Time:
     reflections are for a grade...                                              Effective

     T: I'm gonna be checking out your notebooks and giving you
     permission to go once you have everything written down

     T: ...next check in will be at 9:10

     T: I want to give a reward to (student names)...You guys can work
     with your cameras off because you gave me answers
     earlier...everybody else cameras on.

     T: on the count of 3 put your answer in the chat

     Alarm goes off

     17 students (15 cameras on)

    Framework:

     2c: Managing Classroom Procedures

    Feedback:

     Mr. Hester manages classroom procedures well. He reinforces camera expectations with 88% compliance. Mr. Hester
     transitions to the pdf of the text and google classroom with little loss of instructional time. He reminds students of how

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     reflections happen in the class and confirms completion of reflections before students are dismissed.

     Mr. Hester is effective in managing classroom procedures.



     Objective: Students will communicate with each other using present          Rating:                   Time:
     tense conjugated verbs to describe the actions depicted in a story          Developing
     called Pobre Ana.

    (Contains attachments, see below)

    Framework:

     1a: Demonstrating Knowledge of Content and Pedagogy

    Feedback:

     Mr. Hester has a solid understanding of the important concepts for Spanish courses. He understands some awareness
     of prerequisite learning. Mr. Hester’s lesson reflected a limited range of pedagogical approaches to the discipline and
     understanding of appropriate material for the students. For example, all students were expected to identify subjects
     and verbs in paragraphs. There were sentences that did not have subjects present and required a higher level of
     understanding of the language in order to complete. This idea was not anticipated by Mr. Hester and therefore caused
     a lack of clarity for students. Additionally, there was not an objective that connected with a larger theme or goal;
     therefore making the purpose of the task unclear.

     Mr. Hester is developing in demonstrating knowledge of content and pedagogy.

    Next Steps:

     Next Steps: Use the Avancemos curriculum to create overall goals for the unit. Create lessons that align to that
     overall unit goal.



     T: Alright so I went through and gave you comments on your                  Rating:                   Time:
     reflections...that being said...really good work...if you were having       Developing
     some problems, send me an email or write me a chat....

     T gives examples of what they can put

     T: Ok guys, we're at 9:20...one student did say something that I want
     to share with the class...don't work on another document and paste it
     over...so ok in preparation for your reflection. Go into your reflection
     notebook...note something you did, saw or learned today...

     T: alright, last check in will be at 9:20 for reflections.

     T models how to add a row

     T: Some ppl are confused about the document...so let me show
     you...just cuz the box is filled you're not actually done. so it's gonna
     be quite a few so just hit the tab key on the keyboard...and it opens
     up a new word for you

     T: Good I have 4 already...wonderful...Alright just got 5...6...7
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     wonderful...

     T: Alrighty guys. second check in...go ahead...i do want to remind
     you that you have to add the columns...so go ahead and pop in your
     next check in right now

     T: ...next check in will be at 9:10

     T: Ok so while you're working I'll be watching your google doc

     T: The first one will be at 9:00...

     T: Ok guys I'm gonna let you go...I'm gonna give you 10 mins and a
     check in and then another 10 mins and a check in and then we'll do
     our reflections

     T: Hmmm. Maybe I should grade this...Let me pull up my gradebook
     because the students that did this definitely deserve credit....alright 7
     answers...Rama double check your answers. Remember what the
     sentence is...double check your answer guys. Mekya double check
     your answer

     T types in chat why each is the subject and verb

     T: One thing I want to correct. The subject doesn't definitively come
     before the verb...

     M resp

     T: Ok, well...Mario why is Patty the subject and why is toma the verb

     T: So what I want you guys to do is do one on your own. Let's go
     down to paragraph 3....in this sentence I'm gonna give you 2 mins
     which is technically kind of a lot...in the 2 mins that I give you tell me
     who is the subject and who is the verb in the sentence...don't actually
     look up the words...after 2 mins I'll ask you guys to waterfall your
     answers.

     T: So here we can see Ana is the subject because...in this case Don
     is the person..

     S: Don [in spanish]

     T: Who is helping or who is not helping I should say

     T: Who here is initiating the action of helping?

     T: It wouldn't be no...remember when you break a sentence down,
     subject and predicate...whoever initiates the action is the subject

     S: no

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     Wait time

     T: This is the verb because it describes the action...so who's the
     subject here?

     S: ayuda

     T: and what's the spanish word?

     T: Great participation

     S: Rama

     T: Who was that? Great participation by the way

    Framework:

     3a: Communicating with Students

    Feedback:

     Mr. Hester communicates with students clearly and accurately. He pushes for precision in language and understanding
     and provides clarity for students when needed. He modeled the task for students and showed them where to put their
     responses on the google doc. During the independent practice, students were confused about how to complete the
     task because instructions on how to add rows were not given before releasing them to work, as a result there was a
     loss of work time for students. Additionally, to help build understanding and fluency, communication in Spanish class
     should be done in both English and Spanish.

     Mr. Hester is developing in communicating with students.

    Next Steps:

     Next Steps: Anticipate what students will need to be successful during independent practice time and be clear about
     the directions before releasing them to work.



     T: Yeah. And that's perfect...what made you know?                           Rating:                   Time:
                                                                                 Developing
     X resp

     T: Don't google it Just look at the word...in fact put your hands
     up...Xaria which two are the verbs

     T: This is a question just for the students who don't speak any
     spanish. In this sentence 'Busca el libro pero no lo encuentra'...there
     are two verbs here? What are they?

     T: Alright, there's enough understanding for you to do the
     assignment...so looking back at our assignment...

     T: Yeah


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     KM resp

     T:Ok we are going to move forward...I'm gonna ask Kevin Mendoza...
     Why did you pick that answer?...

     T: Out of 19 students I should see more than 6 students...what is the
     subject and what is the verb? Rama where's your answer...Kevin got
     your answer...Mekya where's your answer...

     T: Ok and 1,2,3 send your answers...I have 4...I should see more
     coming in...5 ok wonderful...and they are correct...6 which is also
     correct.

     T: So here we can see Ana is the subject because...in this case Don
     is the person..

     S: Don [in spanish]

     T: Who is helping or who is not helping I should say

     T: Who here is initiating the action of helping?

     T: It wouldn't be no...remember when you break a sentence down,
     subject and predicate...whoever initiates the action is the subject

     S: no

     Wait time

     T: This is the verb because it describes the action...so who's the
     subject here?

     S: ayuda

     T: and what's the spanish word?

     S: helps

     T: We have Don. We have no. We have per. We have helps.

     T: Where's the verb

     T: I'll highlight it for you

     T: Which one is the verb?

     No resp

     T: Now let's go to one that might be a little more difficult...I see that
     Don does not help her...so what's the verb here in this sentence?..


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    (Contains attachments, see below)

    Framework:

     3b: Using Questioning and Discussion Techniques

    Feedback:

     Mr. Hester asked a variety of questions during the lesson. He asked checks for understanding as well as scaffolded
     questions to support student understanding. Mr. Hester also pushed students to expound on their responses by asking
     “What made you know?” One suggestion to improve in this indicator is to ask questions that promote student-to-
     student interaction. For example, when you asked students to put the subject and verb in the chat for a sentence,
     there were varying answers. A good question to ask would have been, “__ says __ is the subject and __ says ___ is
     the subject. Who’s correct and why? Could both be correct? Explain.” This encourages students to begin to respond to
     other students’ responses and promotes the consideration of others’ perspectives during class discussion.

     Mr. Hester is developing in using questioning and discussion techniques.

    Next Steps:

     Next Steps: During planning, script 1-2 questions that promote discussion in class and in an increase in student-to-
     student interaction.



     T types in chat: To prepare for your first check in, tell me one verb       Rating:                   Time:
     and subject your are writing now. Private message.                          Developing

     T: Ok so while you're working I'll be watching your google doc

     T: The first one will be at 9:00...

     T: Ok guys I'm gonna let you go...I'm gonna give you 10 mins and a
     check in and then another 10 mins and a check in and then we'll do
     our reflections

     T: This is a question just for the students who don't speak any
     spanish. In this sentence 'Busca el libro pero no lo encuentra'...there
     are two verbs here? What are they?

     T: Yeah. And that's perfect...what made you know?

     X resp

     T: Don't google it Just look at the word...in fact put your hands
     up...Xaria which two are the verbs

     T: Alright, there's enough understanding for you to do the
     assignment...so looking back at our assignment...

     T: Yeah

     KM resp


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     T: I have 8 but I'm still short by several

     T: This is just to check that you know the subject and the verb...you
     have 30 seconds and then you're going to send as a private message
     "Patty no contesta"

     T: What I'm gonna do is to put your answer privately as a private
     message.

     T: Pretty solid answers but they came in late...

     Let's see William where's your answer, (names students). Nelvin,
     where's your answer, Jose. Tatiana I see yours...

     4 students answer in chat

     T: on the count of 3 put your answer in the chat

     Alarm goes off

     T: So what I want you guys to do is do one on your own. Let's go
     down to paragraph 3....in this sentence I'm gonna give you 2 mins
     which is technically kind of a lot...in the 2 mins that I give you tell me
     who is the subject and who is the verb in the sentence...don't actually
     look up the words...after 2 mins I'll ask you guys to waterfall your
     answers.

     T: So here we can see Ana is the subject because...in this case Don
     is the person..

     S: Don [in spanish]

     T: Who is helping or who is not helping I should say

     T: Who here is initiating the action of helping?

     T: It wouldn't be no...remember when you break a sentence down,
     subject and predicate...whoever initiates the action is the subject

     S: no

     Wait time

     T: This is the verb because it describes the action...so who's the
     subject here?

     S: ayuda

     T: and what's the spanish word?

     S: helps

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     T: We have Don. We have no. We have per. We have helps.

     T: Where's the verb

     T: I'll highlight it for you

     T: Which one is the verb?

     No resp

     T: Now let's go to one that might be a little more difficult...I see that
     Don does not help her...so what's the verb here in this sentence?..

     T: Great participation

     S: Rama

     T: Who was that? Great participation by the way

    (Contains attachments, see below)

    Framework:

     3c: Engaging Students in Learning

    Feedback:

     Mr. Hester prepared a lesson requiring students to identify the subjects and verbs in sentences within a larger text.
     Most students were engaged in the learning and completing the task. To engage learners and build proficiency with
     language, students need to hear the language being spoken to provide a more immersive experience. Mr. Hester
     spoke English entirely except when reading the text and speaking the subject and verbs. Additionally, there were no
     slides to support the learning and provide visuals for students. Since all students were required to do the same
     activity, there was no differentiation or creation of instructional groupings to support the various language levels and
     learning needs in the class.

     Mr. Hester is developing in engaging students in learning.

    Next Steps:

     Next Steps: During planning: 1) create a differentiated tasks for students who have stronger grasp of the Spanish
     language and who can handle an accelerated activity 2) Speak in both Spanish and English to reinforce the language
     and allow students to hear Spanish spoken in a more authentic way.



     T: Ok guys, we're at 9:20...one student did say something that I want Rating:                         Time:
     to share with the class...don't work on another document and paste it Developing
     over...so ok in preparation for your reflection. Go into your reflection
     notebook...note something you did, saw or learned today...

     T: alright, last check in will be at 9:20 for reflections.

     T types in chat: To prepare for your first check in, tell me one verb

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     and subject your are writing now. Private message.

     T:Ok we are going to move forward...I'm gonna ask Kevin Mendoza...
     Why did you pick that answer?...

     T: Out of 19 students I should see more than 6 students...what is the
     subject and what is the verb? Rama where's your answer...Kevin got
     your answer...Mekya where's your answer...

     T: Ok and 1,2,3 send your answers...I have 4...I should see more
     coming in...5 ok wonderful...and they are correct...6 which is also
     correct.

     T: This is just to check that you know the subject and the verb...you
     have 30 seconds and then you're going to send as a private message
     "Patty no contesta"

     T: What I'm gonna do is to put your answer privately as a private
     message.

     T: Pretty solid answers but they came in late...

     T: So what I want you guys to do is do one on your own. Let's go
     down to paragraph 3....in this sentence I'm gonna give you 2 mins
     which is technically kind of a lot...in the 2 mins that I give you tell me
     who is the subject and who is the verb in the sentence...don't actually
     look up the words...after 2 mins I'll ask you guys to waterfall your
     answers.

    Framework:

     3d: Using Assessment in Instruction

    Feedback:

     Mr. Hester asked a variety of questions to check for student understanding during the teacher led portion. During the
     CFUs, participation was low and he could not get an accurate representation of what students knew. Although he
     monitored student work during the independent practice, there were no small groups created and no check ins during
     the independent practice until 10 minutes after students were working to gauge mastery towards the goal of the
     lesson.

     Mr. Hester is developing in using assessment in instruction.

    Next Steps:

     Next Step: During planning, use data from previous day’s lesson to form differentiated groups based on student
     learning needs. For example, one group can be a small group that works with you and includes students who need
     support. Another group could be a homogenous group of students who are working on the advanced assignment.



                                                                                  Rating:                  Time:
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    Framework:

     4f: Showing Professionalism

    Feedback:

     Mr. Hester has positive interactions with staff and students. However, he is consistently late with submitting lesson
     plans. While he has improved on weekly grade updates, they are still inconsistent.

     Mr. Hester is developing in showing professionalism.

    Next Steps:

     Next Steps: Updates grades weekly in PowerSchool and submit lesson plans for Spanish II by Thursday 3pm and
     Spanish III lessons by Sunday noon.



     T: So many of you are not writing a reflection. Keep in mind the            Rating:                   Time:
     reflections are for a grade...                                              Effective

     T: I'm gonna be checking out your notebooks and giving you
     permission to go once you have everything written down

     T: I want to give a reward to (student names)...You guys can work
     with your cameras off because you gave me answers
     earlier...everybody else cameras on.

     T: I have 8 but I'm still short by several

     T: Hmmm. Maybe I should grade this...Let me pull up my gradebook
     because the students that did this definitely deserve credit....alright 7
     answers...Rama double check your answers. Remember what the
     sentence is...double check your answer guys. Mekya double check
     your answer

     T: Out of 19 students I should see more than 6 students...what is the
     subject and what is the verb? Rama where's your answer...Kevin got
     your answer...Mekya where's your answer...

     T: Ok and 1,2,3 send your answers...I have 4...I should see more
     coming in...5 ok wonderful...and they are correct...6 which is also
     correct.

     Let's see William where's your answer, (names students). Nelvin,
     where's your answer, Jose. Tatiana I see yours...

     17 students (15 cameras on)

     T: Great participation

     S: Rama

     T: Who was that? Great participation by the way
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    Framework:

     2b: Establishing a Culture for Learning

    Feedback:

     Mr. Hester requires 100% participation in his class. He continuously makes attempts to engage and encourage all
     learners to participate in the chat. He did not allow students to opt out and rewarded students for participating. Mr.
     Hester clarifies and corrects student thinking to stress the importance of concise language. Next Steps: Create a slide
     deck that includes both schoolwide and classroom expectations to be clear and remind students before every class.

     Mr. Hester is effective in establishing a culture for learning.

    Next Steps:

     Next Steps: Create a slide deck that includes both schoolwide and classroom expectations to be clear and remind
     students before every class.



                                                                                   Rating:                 Time:
                                                                                   Effective

    Framework:

     4d: Participating in a Professional Community

    Feedback:

     Mr. Hester attends grade level team meetings on time and participates. He also helped in the planning of the Winter
     Assembly. Mr. Hester also participates and reflects in weekly coaching meetings and one-on-one sessions with Ms.
     Stephens.

     Mr. Hester is effective in participating in a professional community.




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                                                                                          Jared Hester <jhester@paulcharter.org>



  Plans
  5 messages

  Jared Hester <jhester@paulcharter.org>                                                   Mon, Dec 14, 2020 at 2:20 PM
  To: Tomiko Graves <tgraves@paulcharter.org>, Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran
  <ttran@paulcharter.org>

    Hello All,

    I know on Friday you all set the expectation of my lesson plans being due tomorrow by 9. I am still looking for the
    material that would best suit the Spanish II class and having a hard time finding what would be good. I would like to ask
    for an extension on the Spanish II lesson plans, perhaps until Thursday morning.

    Sincerely,
    Mr. Hester


  Shalima Olorunoje <solorunoje@paulcharter.org>                                                       Mon, Dec 14, 2020 at 7:02 PM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Tomiko Graves <tgraves@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Greetings,
    Thank you for your email and for following the set norms that we established in our meeting last week. I won't be able to
    grant an extension to Thursday. Please have the plans complete by 8 am Wednesday, Dec. 16th

    Thank you in advance.
    [Quoted text hidden]
    --
         Shalima Olorunoje
         HS Principal | Paul PCS
         e: solorunoje@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                               Tue, Dec 15, 2020 at 8:44 AM
  To: Shalima Olorunoje <solorunoje@paulcharter.org>
  Cc: Tomiko Graves <tgraves@paulcharter.org>, Trina Tran <ttran@paulcharter.org>
https://mail.google.com/mail/u/5?ik=fe2a373b3e&view=pt&search=all&permthid=thread-a%3Ar-3482343034843765795&simpl=msg-a%3Ar-75711476…   1/2
12/31/2020                                      Paul Public Charter
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    Okay. Received. Thank you.
    [Quoted text hidden]



  Tomiko Graves <tgraves@paulcharter.org>                                                              Thu, Dec 17, 2020 at 9:29 AM
  To: Shalima Olorunoje <solorunoje@paulcharter.org>
  Cc: Jared Hester <jhester@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Good morning Mr. Hester,

    I'm reaching out because there aren't any lesson plans for Spanish II or Spanish III in the folder as of 9:28 this morning.

    Please share your plans as soon as possible.

    On Mon, Dec 14, 2020 at 7:02 PM Shalima Olorunoje <solorunoje@paulcharter.org> wrote:
    [Quoted text hidden]



    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                              Thu, Dec 17, 2020 at 10:20 AM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>, Trina Tran <ttran@paulcharter.org>

    Hello,

    I am still in the midst of those.

    Thank you,
    Mr. Hester
    [Quoted text hidden]




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    Welcome to Spanish
          You can call me Mr. Hester.
Have on your camera and set your microphone to
                    mute.
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Students Will Read Slideshow in Equal Parts Aloud

  (Note: Expect to receive a syllabus next week.)
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About Spanish Source: (https://lingvist.com/blog/history-of-spanish/).
Spanish is a language that originated among the peoples of the Iberian Peninsula
during the Roman occupation of that peninsula. Its proper name in Spanish is
‘cahhs-tae-ahhno’. It is spoken by over 400 million people natively and is the second
most spoken native language after Mandarin. The language evolved mostly from Latin
and so is similar to other Latin-derived language like Catalan, Portuguese, Italian,
French, Romanian, and many more. Linguists refer to this as a dialect continuum,
meaning that as these languages get geographically farther from each other, there
level of continuity breaks. Portuguese, Catalan, and Italian are extremely similar to
Spanish, but French is more different, and Romanian is quite different. Spanish is also
the base of creoles and is present in many languages due to its role in colonization.
Cristobal Colon (Christopher Columbus) worked for the Spanish and was from Genoa,
which used to be its own state but is now a part of Italy.
Expectations
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-Besides general school expectations, you will speak, read, write, translate, and
interpret Spanish. You will also look at creoles, dialects, sister languages, and
historical versions.

-Our class schedule will consist of: a quick lesson, a short activity, a brief
assessment, a group activity, a group assessment, and an individual or a group
project and an individual or a group assessment. You will have a homework
assignment once a week that will be the same. You will or already have received
a document with all this information.

-You will be expected to speak.
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Misbehavior
All student misbehaviors will be logged in Dean’s List, and
notifications will be sent home and to Mr. Hines following the
structure below:

1.   All class reminder.
2.   Individual reminder.
3.   Points in Dean’s List.
4.   Reference to Mr. Hines, proceeding to removal from
     classroom.
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Misbehavior cont.
-Classroom misbehavior consists of regularly known
offenses, such as cursing, bullying, disrespect of teacher,
refusal to work or to turn on your camera, use of other
websites, and more.

-Typically, you will be safe from any negative consequences
when you use common sense and treat people with
courtesy.
               Case 1:21-cv-03166-JEB Document 28 Filed 12/02/22 Page 74 of 86


Grading Policy
-Work will generally be graded according ACTFL or ILR standards.

-55 Grading Policy - No student shall receive less than 55% on an
assignment which they have put effortful work into.

-You should generally expect to put effort into your work. That includes
when it comes to speaking with an effortful pronunciation and
conscientious grammar.

-If you have trouble, you should reach out to a classmate by email, then
reach out to me (“ask three before me”).
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                  Diagnostic - 15 minutes
- Spanish 2: Write your name, a greeting, a number, a color, the
  place where you live (generally), and happy birthday.



- Spanish 3: Complete the task for Spanish 2, then also tell me one
  thing you did last week and what you will do this week using
  preterite and future tenses of the verbs.

       Submit to my email today: jhester@paulcharter.org
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                                     About Me
I am a Spanish teacher with 3 years of public school teaching experience in
Maryland and DC. I also taught English as a volunteer in Rabat, Morocco and
Buenos Aires, Argentina. I have lived 2 years of my life outside of the United
  States in Mexico, Russia, and the aforementioned places. I hold a B.A. in
                  Literature from Bard College, New York.

  I am originally from Maryland. My personal interests include art, dance,
  music, theater, writing, comedy, poetry, psychology, neurology, nature,
         religions, spiritualities, cultures, histories, and languages.
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                          What About You?
 Write an articulate, flowing paragraph of stuff about yourself
       and share it with a partner in the breakout room.

          I will move through each room and listen.

Make sure you tell your partner what you’re looking forward to
              doing/learning in Spanish class.
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                  Beginning Practice
Link 1: https://www.liveworksheets.com/sh1283595sf
Link 2: https://www.liveworksheets.com/kx1283594xh
Link 3: https://www.liveworksheets.com/fq1283601bg
Link 4: https://www.liveworksheets.com/ab1283614kj
Complete in a Google Doc; Share with jhester@paul
1/5/2021             Case 1:21-cv-03166-JEBPaulDocument
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                                                                                             Page 79 of 86


                                                                                          Jared Hester <jhester@paulcharter.org>



  Technical Issue
  3 messages

  Jared Hester <jhester@paulcharter.org>                                                                Mon, Jan 4, 2021 at 3:10 PM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Good Afternoon Ms. Graves,

    I am locked out of my Paul laptop so I will joining our call today by cellphone and computer. I might have to toggle
    between having my camera on and off and typing my responses.

    Looking forward to it,
    Mr. Hester


  Tomiko Graves <tgraves@paulcharter.org>                                                               Mon, Jan 4, 2021 at 3:45 PM
  To: Jared Hester <jhester@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>

    Good afternoon Mr. Hester,

    I hope you enjoyed your break.

    I called you and kept the room open until 3:45. Please refer to the email sent (prior to break) and prepare a pre-
    assessment using Avancemos for both your Spanish 2 and 3 classes.

    Let me know if you have any questions.

    An excerpt from the email is below as a reminder:

    After considering the shifts you will be making with students as it relates to working primarily from Avancemos, I was
    going to discuss with you today about administering a pre-assessment with them on Tuesday and Wednesday, January
    4 & 5.

    I feel this will be helpful for a number of reasons:
    1) The diagnostic you gave at the beginning of the year included students completing it together in class, which negates
    their scores and limits your ability to use it. (We discussed this already).
    2) Since students have already begun some Spanish instruction and are coming with a wide range of language-speaking,
    it would be difficult to determine where to begin in the Avancemos curriculum; a concern you shared.
    3) The assessment would come from Avancemos, which means that, depending on the sections of the assessment
    used within Avancemos, it provides you the corresponding unit aligned with that section of the assessment. This would
    be extremely helpful, if, for example you noticed 75% of students did not do well on section 2. Well, section 2 is aligned
    to chapter __. That allows you to go into that section and think about creating a lesson from there.

    The assessments are located on the "Teacher resources" tab, under "Differentiated Assessments."

    The assessment is written as a pdf so here are some challenges (and some potential action steps) with the assessment:
    1) Students have access to the digital textbook, but if they haven't used it, you would have to take time to give them
    logins and show them how to access it. *This is definitely something I'm sure you would want to do anyway, as that is
    how they can have the whole experience in acquiring the language.
    OR
    2) You could recreate/rewrite the assessment (or portions of it) into a Google Form. The advantages of this would be
    that you get all data instantly, already aggregated for you and you can easily see trends. Another advantage is that you
    could potentially add additional options to student choices to reflect other realistic choices.


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1/5/2021                Case 1:21-cv-03166-JEBPaulDocument
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    [Quoted text hidden]
    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
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         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                                Mon, Jan 4, 2021 at 4:18 PM
  To: Tomiko Graves <tgraves@paulcharter.org>
  Cc: Shalima Olorunoje <solorunoje@paulcharter.org>

    Hello Ms. Graves,

    My break was great, thank you for asking. How was yours?

    I am sorry that you waited so long. The technical issue took about half an hour to fully resolve but I logged into the call a
    second time around 3:20 and got a wait screen, but I am now using my laptop.

    I was wondering if you could explain the need for the exam. I sent you an email earlier clarifying that my pre-exam
    results from October were valid but that you made a mistake of perceiving that I had graded them with the students. (I
    believe you came into a class where they had completed it days before.) At this point, I am comfortable making a
    judgement about my students' abilities and do not see the need for the exam but could use it as a mid-term.

    My current plan for students with Avancemos is to make lessons out of the authentic textual and audio portions of the
    book that challenge students to read and listen to the authentic Spanish and pair them with an exercise from the book,
    then use the resources on the Spanish FYI site to have students answer questions or read and respond to articles, as
    well as supplement their exposure and responsiveness to Spanish with materials from the UT Austin LAITS website:
    https://www.laits.utexas.edu/spe/ This is from the project plan I sent you before break.

    I was wondering if this combination of textbook and authentic resources could be a compromise for both of us so that
    students are getting the structure from the book you want and I am able to give them the authentic experience I want.

    What do you think?

    Sincerely,
    Mr. Hester




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                                                                                           Jared Hester <jhester@paulcharter.org>



  Project Plan and Other Lesson Planning Topics
  3 messages

  Jared Hester <jhester@paulcharter.org>                                                                 Thu, Dec 17, 2020 at 3:34 PM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Hi, Ms. Graves,

    I wanted to send you screenshots of some project plans I made just so you can see that I have been working on
    lessons. In addition to that, I want to add weekly grammar lessons with matching homework and an assessment that will
    support them on this acquisition-based project.

    I wanted to say about that, I have studied Russian, German, Spanish, French, Arabic, and Hebrew abroad and in the US,
    and at many famous institutes like the National Autonomous University of Mexico and Middlebury College. All in all, the
    language learning experts agree that acquisition-based learning is the way to becoming proficient in a particular
    language. This is the method that the State Department uses for example.

    As for the textbook, I have been working on reading it since Sunday. The materials look really good and there are a lot of
    great acquisition-based materials. I am just generally unfamiliar with these materials so it will take me some time to
    figure out how to implement them. I am more familiar with the materials I am using in my projects which is why I am
    using them (I can come up with lessons faster). All in all, I am doing my best at the moment, also considering I am a
    little bit limited in some ways.

    I wanted to share the introduction from the book with you, and Ms. Olorunoje and Ms. Tran if they want to:
    https://players.brightcove.net/906043067001/H1MR0nxf_default/index.html?videoId=ref:Avancemos_Final_market. "We
    don't learn language, we acquire language" is really a foundational statement from the video.

    I know you have concerns about students accessing learning material that is in Spanish (although experts agree that this
    is the best way to familiarize learners of all levels) and that this could tie into student success in terms of their grades,
    but I wanted to provide some data from my gradebook that might dispel your concerns. (This data does not contain the
    two most recent assignments from this week.) I have 68 students total, 25 are passing with at least a C, 23 are failing
    due to absence, and the remaining 20 are failing due to missing work (but not improficient work - most of their work is
    spot on when turned in). I think the two biggest data points that may be making it look like the use of authentic material
    may be causing them to fail are the 23 chronically absent students and the 20 students who are missing assignments.

    I would love to receive your feedback. (I know it is break, so please don't let me pull you away from free time but I also
    know that this is important.)

    Sincerely,
    Jared


     4 attachments




                                                 Screenshot 2020-12-17 at 2.33.54 PM.png
                                                 132K




                                                 Screenshot 2020-12-17 at 2.34.09 PM.png
                                                 95K


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                                                116K




                                                Screenshot 2020-12-17 at 2.34.20 PM.png
                                                117K




  Tomiko Graves <tgraves@paulcharter.org>                                                               Thu, Dec 17, 2020 at 4:44 PM
  To: Jared Hester <jhester@paulcharter.org>

    Good afternoon Mr. Hester,

    Thanks for sharing your thoughts.

    I am a little familiar with the theory of acquisition learning. My children have been fortunate to attend Spanish immersion
    schools since Kindergarten, where the language acquisition included a learning of the culture through the perspectives of
    the teacher experiences as they came from a number of different Spanish-speaking countries. Additionally, naturally, the
    earlier you learn a language, in a non-formal way, can provide a deeper experience with language learning and
    proficiency. They have also been afforded the opportunity to be in immersive environments in Panama.

    I'm glad that you recognize that the Avancemos curriculum focuses on students "acquiring" the language and not just
    "learning" it. Although, there's a space for both.

    After considering the shifts you will be making with students as it relates to working primarily from Avancemos, I was
    going to discuss with you today about administering a pre-assessment with them on Tuesday and Wednesday, January
    4 & 5.

    I feel this will be helpful for a number of reasons:
    1) The diagnostic you gave at the beginning of the year included students completing it together in class, which negates
    their scores and limits your ability to use it. (We discussed this already).
    2) Since students have already begun some Spanish instruction and are coming with a wide range of language-speaking,
    it would be difficult to determine where to begin in the Avancemos curriculum; a concern you shared.
    3) The assessment would come from Avancemos, which means that, depending on the sections of the assessment
    used within Avancemos, it provides you the corresponding unit aligned with that section of the assessment. This would
    be extremely helpful, if, for example you noticed 75% of students did not do well on section 2. Well, section 2 is aligned
    to chapter __. That allows you to go into that section and think about creating a lesson from there.

    The assessments are located on the "Teacher resources" tab, under "Differentiated Assessments."

    The assessment is written as a pdf so here are some challenges (and some potential action steps) with the assessment:

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    1) Students have access to the digital textbook, but if they haven't used it, you would have to take time to give them
    logins and show them how to access it. *This is definitely something I'm sure you would want to do anyway, as that is
    how they can have the whole experience in acquiring the language.
    OR
    2) You could recreate/rewrite the assessment (or portions of it) into a Google Form. The advantages of this would be
    that you get all data instantly, already aggregated for you and you can easily see trends. Another advantage is that you
    could potentially add additional options to student choices to reflect other realistic choices.

    I would like to schedule a time for us to meet tomorrow to come up with some concrete plans prior to break.

    The only preparation needed is for you to have access to Avancemos, which you already do.

    Let me know!
    [Quoted text hidden]
    --
         T Graves
         HS Assistant Principal | Paul PCS
         e: tgraves@paulcharter.org p: (202) 291 7499
         a: 5800 Eighth Street NW, Washington DC 20011
         w: www.paulcharter.org




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  Jared Hester <jhester@paulcharter.org>                                                                   Fri, Dec 18, 2020 at 10:37 AM
  To: Tomiko Graves <tgraves@paulcharter.org>

    Good Morning!

    Sorry I did not respond earlier. I am a little unwell today and will read it in full soon.

    Thanks,
    Jared
    [Quoted text hidden]




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